      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 1 of 17




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ERIK GARCIA,                                         )
                                                     )
                              Plaintiff,             )
                                                     )        CIVIL ACTION
vs.                                                  )
                                                     )        Case No. 4:24-CV-01503
LA MICHOACANA, LTD.,                                 )
                                                     )
                              Defendant.             )

                                           COMPLAINT

       COMES NOW, ERIK GARCIA, by and through the undersigned counsel, and files this,

his Complaint against Defendant, LA MICHOACANA, LTD., pursuant to the Americans with

Disabilities Act, 42 U.S.C. § 12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28

C.F.R. Part 36 (“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as

follows:

                                           JURISDICTION

       1.      This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§ 1331

and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon Defendant’s

failure to remove physical barriers to access and violations of Title III of the ADA.

                                             PARTIES

       2.      Plaintiff, ERIK GARCIA (hereinafter “Plaintiff”) is, and has been at all times

relevant to the instant matter, a natural person residing in Houston, Texas (Harris County).

       3.      Plaintiff is disabled as defined by the ADA.

       4.      Plaintiff is required to traverse in a wheelchair and is substantially limited in

performing one or more major life activities, including but not limited to: walking and standing.


                                                 1
       Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 2 of 17




        5.     Plaintiff uses a wheelchair for mobility purposes.

        6.     In addition to being a customer of the public accommodation on the Property,

Plaintiff is also an independent advocate for the rights of similarly situated disabled persons and

is a “tester” for the purpose of enforcing Plaintiff’s civil rights, monitoring, determining and

ensuring whether places of public accommodation are in compliance with the ADA. Her

motivation to return to a location, in part, stems from a desire to utilize ADA litigation to make

Plaintiff’s community more accessible for Plaintiff and others; and pledges to do whatever is

necessary to demonstrate the plausibility of Plaintiff returning to the Property once the barriers to

access identified in this Complaint are removed in order to strengthen the already existing

standing to confer jurisdiction upon this Court so an injunction can be issued correcting the

numerous ADA violations on this property. (“Advocacy Purposes”).

        7.     Defendant, LA MICHOACANA, LTD. (hereinafter “MICHOACANA, LTD.”), is

a Texas limited company that transacts business in the State of Texas and within this judicial

district.

        8.     Defendant, LA MICHOACANA, LTD., may be properly served with process via

its Registered Agent for service, to wit: c/o Monty Partners, LLP, Registered Agent, 150 West

Parker Road, 3rd Fl., Houston, TX 77076.

        9.     According to the Harris County Property Appraiser, the listed entity which owns

the parcel is LA MICHOACANA CORP, however, according to the Texas Secretary of State

website, LA MICHOACANA CORP as was converted to LA MICHOACANA, LTD in 1999.

As such, LA MICHOACANA, LTD. is the proper owner of the subject property.




                                                 2
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 3 of 17




                                  FACTUAL ALLEGATIONS

       10.     On or about September 9, 2023, Plaintiff was a customer at La Michoacana Meat

Market ,” a business located at 7501 Bissonnet Street, Houston, TX 77074, referenced herein as

“La Michoacana”. Attached is Plaintiff’s receipt as Exhibit “1.” Also attached is a photograph

documenting Plaintiff’s visit to the Property. See Exhibit 2.

       11.     Defendant, LA MICHOACANA, LTD., is the owner or co-owner of the real

property and improvements that La Michoacana is situated upon and that is the subject of this

action, referenced herein as the “Property.”

       12.     Plaintiff lives less than a mile from the Property.

       13.     As a result of the close vicinity of the Property to Plaintiff’s residence, Plaintiff is

routinely travelling by the Property. After September 9, 2023, Plaintiff was travelling by the

Property and intended to go back to La Michoacana Meat Market to purchase food, saw the

barriers to access and was dissuaded from patronizing this store again because he remembered

the hassle and potential dangers the barriers to access presented to him on his earlier visit.

       14.     Plaintiff’s access to the business(es) located 7501 Bissonnet Street, Houston, TX

77074, Harris County Property Appraiser’s property identification number 0740090010035 (“the

Property”), and/or full and equal enjoyment of the goods, services, foods, drinks, facilities,

privileges, advantages and/or accommodations offered therein were denied and/or limited

because of his disabilities, and he will be denied and/or limited in the future unless and until

Defendant, LA MICHOACANA, LTD., is compelled to remove the physical barriers to access

and correct the ADA violations that exist at the Property, including those set forth in this

Complaint.

       15.     Defendant, LA MICHOACANA, LTD., as property owner, is responsible for



                                                  3
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 4 of 17




complying with the ADA for both the exterior portions and interior portions of the Property.

Even if there is a lease between Defendant, LA MICHOACANA, LTD. and the tenant allocating

responsibilities for ADA compliance within the unit the tenant operates, that lease is only

between the property owner and the tenant and does not abrogate the Defendant’s independent

requirement to comply with the ADA for the entire Property it owns, including the interior

portions of the Property which are public accommodations. See 28 CFR § 36.201(b).

          16.   Plaintiff has visited the Property twice before as a customer and advocate for the

disabled. Plaintiff intends to revisit the Property within six months after the barriers to access

detailed in this Complaint are removed and the Property is accessible again. The purpose of the

revisit is to be a return customer, to determine if and when the Property is made accessible and

for Advocacy Purposes.

          17.   Plaintiff intends on revisiting the Property to purchase goods and/or services as a

return customer living in the near vicinity as well as for Advocacy Purposes but does not intend

to re-expose himself to the ongoing barriers to access and engage in a futile gesture of visiting

the public accommodation known to Plaintiff to have numerous and continuing barriers to

access.

          18.   Plaintiff travelled to the Property twice as a customer and as an independent

advocate for the disabled, encountered the barriers to access the Property that are detailed in this

Complaint, engaged those barriers, suffered legal harm and legal injury, and will continue to

suffer such harm and injury as a result of the illegal barriers to access present at the Property.

          19.   Although Plaintiff did not personally encounter each and every barrier to access

identified in Plaintiff’s Complaint, Plaintiff became aware of all identified barriers prior to filing

the Complaint and because Plaintiff intends on revisiting the Property as a customer and



                                                  4
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 5 of 17




advocate for the disabled within six months or sooner after the barriers to access are removed, it

is likely that despite not actually encountering a particular barrier to access on one visit, Plaintiff

may encounter a different barrier to access identified in the complaint in a subsequent visit as,

for example, one accessible parking space may not be available and he would need to use an

alternative accessible parking space in the future on his subsequent visit. As such, all barriers to

access identified in the Complaint must be removed in order to ensure Plaintiff will not be

exposed to barriers to access and legally protected injury.

       20.     Plaintiff’s inability to fully access the Property and the stores within in a safe

manner and in a manner which inhibits the free and equal enjoyment of the goods and services

offered at the Property, both now and into the foreseeable future, constitutes an injury in fact as

recognized by Congress and is historically viewed by Federal Courts as an injury in fact.


                                      COUNT I
                          VIOLATIONS OF THE ADA AND ADAAG

       21.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       22.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a whole is
               growing older;

       (ii)    historically, society has tended to isolate and segregate individuals with
               disabilities, and, despite some improvements, such forms of discrimination
               against individuals with disabilities continue to be a serious and pervasive
               social problem;

       (iii)   discrimination against individuals with disabilities persists in such critical
               areas as employment, housing public accommodations, education,
               transportation, communication, recreation, institutionalization, health
               services, voting, and access to public services;



                                                  5
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 6 of 17




       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the discriminatory
               effects of architectural, transportation, and communication barriers,
               overprotective rules and policies, failure to make modifications to existing
               facilities and practices, exclusionary qualification standards and criteria,
               segregation, and relegation to lesser service, programs, activities, benefits,
               jobs, or other opportunities; and

       (v)     the continuing existence of unfair and unnecessary discrimination and
               prejudice denies people with disabilities the opportunity to compete on an
               equal basis and to pursue those opportunities for which our free society is
               justifiably famous, and costs the United States billions of dollars in
               unnecessary expenses resulting from dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       23.     Congress explicitly stated that the purpose of the ADA was to:

       (i)     provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;

       (ii)    provide a clear, strong, consistent, enforceable standards addressing
               discrimination against individuals with disabilities; and

               *****

       (iv)    invoke the sweep of congressional authority, including the power to
               enforce the fourteenth amendment and to regulate commerce, in order to
               address the major areas of discrimination faced day-to-day by people with
               disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       24.      The congressional legislation provided places of public accommodation one and

a half years from the enactment of the ADA to implement its requirements.

       25.     The effective date of Title III of the ADA was January 26, 1992 (or January 26,

1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or less). 42 U.S.C.

§ 12181; 28 C.F.R. § 36.508(a).

       26.     The Property is a public accommodation and service establishment.

       27.     Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the


                                                 6
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 7 of 17




Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       28.     Public accommodations were required to conform to these regulations by January

26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       29.     The Property must be, but is not, in compliance with the ADA and ADAAG.

       30.     Plaintiff has attempted to, and has to the extent possible, accessed the Property in

his capacity as a customer at the Property as well as an independent advocate for the disabled,

but could not fully do so because of his disabilities resulting from the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       31.     Plaintiff intends to visit the Property again in the very near future as a customer

and as an independent advocate for the disabled, in order to utilize all of the goods, services,

facilities, privileges, advantages and/or accommodations commonly offered at the Property, but

will be unable to fully do so because of his disability and the physical barriers to access,

dangerous conditions and ADA violations that exist at the Property that preclude and/or limit his

access to the Property and/or the goods, services, facilities, privileges, advantages and/or

accommodations offered therein, including those barriers, conditions and ADA violations more

specifically set forth in this Complaint.

       32.     Defendant, LA MICHOACANA, LTD., has discriminated against Plaintiff (and

others with disabilities) by denying his access to, and full and equal enjoyment of the goods,



                                                 7
      Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 8 of 17




services, facilities, privileges, advantages and/or accommodations of the Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

        33.      Defendant, LA MICHOACANA, LTD., will continue to discriminate against

Plaintiff and others with disabilities unless and until Defendant, LA MICHOACANA, LTD., is

compelled to remove all physical barriers that exist at the Property, including those specifically

set forth herein, and make the Property accessible to and usable by Plaintiff and other persons

with disabilities.

        34.      A specific list of unlawful physical barriers, dangerous conditions and ADA

violations which Plaintiff experienced and/or observed, or was made aware of prior to the filing

of this Complaint, that precluded and/or limited Plaintiff’s access to the Property and the full and

equal enjoyment of the goods, services, facilities, privileges, advantages and accommodations of

the Property include, but are not limited to:

ACCESSIBLE ELEMENTS:

               i.    In front of the main accessible entrance, the access aisle to the two accessible

                     parking spaces is not level due to the presence of an accessible ramp in the

                     access aisle in violation of Section 502.4 of the 2010 ADAAG standards. This

                     barrier to access would make it dangerous and difficult for Plaintiff to exit and

                     enter their vehicle while parked at the Property as the lift from the van may

                     rest upon the ramp and create an unlevel surface.

              ii.    In front of the main accessible entrance, the accessible curb ramp is

                     improperly protruding into the access aisle of the accessible parking spaces in

                     violation of Section 406.5 of the 2010 ADAAG Standards. This barrier to



                                                   8
Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 9 of 17




            access would make it dangerous and difficult for Plaintiff to exit and enter

            their vehicle while parked at the Property as the lift from the van may rest

            upon the ramp and create an unlevel surface.

     iii.   In front of the main accessible entrance, the Property has an accessible ramp

            leading from the accessible parking spaces to the accessible entrances with a

            slope exceeding 1:12 in violation of Section 405.2 of the 2010 ADAAG

            standards. This barrier to access would make it dangerous and difficult for

            Plaintiff to access the units of the Property because when ramps are too steep

            (more than 1:12) it requires too much physical arm strain to wheel up the

            ramp and increases the likelihood of the wheelchair falling backwards and

            Plaintiff being injured.

     iv.    The accessible ramp providing an accessible route from the two northern

            accessible parking spaces has a vertical rise at the base of the ramp and at the

            top of the ramp in excess of a ¼ inch, in violation of Sections 303.2 and 405.4

            of the 2010 ADAAG standards. This barrier to access would make it

            dangerous and difficult for Plaintiff to access public features of the Property

            when using this accessible ramp as vertical rises on ramps are particularly

            dangerous as the surface of the ramp is already at a significant slope which

            increases the likelihood of the wheelchair to tip over due to the vertical rise.

      v.    In front of the main accessible entrance, the accessible ramp side flares have a

            slope in excess of 1:10 in violation of Section 406.3 of the 2010 ADAAG

            standards. This barrier to access would make it dangerous and difficult for




                                          9
Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 10 of 17




            Plaintiff to access the units of the Property because steep slopes on ramp side

            flares could cause the wheelchair to tip over and injure Plaintiff.

     vi.    In front of the main accessible entrance, one of the two accessible parking

            spaces is not level due to the presence of accessible ramp side flares in the

            accessible parking space in violation of Sections 502.4 and 406.5 of the 2010

            ADAAG standards. This barrier to access would make it dangerous and

            difficult for Plaintiff to exit and enter their vehicle while parked at the

            Property as the van may rest upon the ramp and create an unlevel surface for

            Plaintiff to exit and enter their vehicle.

     vii.   In front of the main accessible entrance, the access aisle is not properly

            marked which improperly encourages parking in the access aisle in violation

            of Section 502.3.3 of the 2010 ADAAG standards. This barrier to access

            would make it difficult for Plaintiff to leave a vehicle when parked in this

            accessible parking space as it is probable a vehicle may be parked in the

            access aisle due to the encouragement of parking there.

    viii.   As a result of the barrier to access referenced in (vi), when a vehicle

            improperly parks in the access aisle, the Property lacks an accessible route

            from the two accessible parking spaces to the accessible entrance of the

            Property in violation of Section 208.3.1 of the 2010 ADAAG standards. This

            barrier to access would make it difficult for Plaintiff to access the units of the

            Property.




                                           10
Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 11 of 17




     ix.    On the east side of the Property, there are two more accessible parking spaces,

            they are both missing signage in violation of section 502.6 of the 2010

            ADAAG standards.

      x.    On the east side of the Property, the southern most accessible parking space is

            not located on the shortest distance to the accessible route in violation of

            section 208.3.1 of the 2010 ADAAG standards. This barrier to access would

            make it difficult and dangerous for Plaintiff to park in this accessible parking

            space and traverse to the accessible entrance as it would require Plaintiff to

            traverse in the vehicular way.

     xi.    On the east side of the Property, due to a failure to maintain an adequate

            policy of maintenance, the accessible ramp providing an accessible route from

            the eastern accessible parking spaces has a vertical rise at the base of the ramp

            in excess of a ¼ inch, in violation of Sections 303.2 and 405.4 of the 2010

            ADAAG standards. This barrier to access would make it dangerous and

            difficult for Plaintiff to access public features of the Property when using this

            accessible ramp as vertical rises on ramps are particularly dangerous as the

            surface of the ramp is already at a significant slope which increases the

            likelihood of the wheelchair to tip over due to the vertical rise.

     xii.   There are no accessible parking spaces on the Property that have a sign

            designating an accessible parking space as “Van Accessible” in violation of

            section 208.2.4 of the 2010 ADAAG standards and section 502.6 of the 2010

            ADAAG standards. This barrier to access would make it difficult for Plaintiff

            to locate a van accessible parking space.



                                          11
  Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 12 of 17




      xiii.   Inside La Michoacana Meat Market, all portions of the meat counter have a

              maximum height of 36 (thirty-six) inches from the finished floor in violation

              of Section 904.4 of the 2010 ADAAG standards, all portions of the meat

              counter exceed 36 (thirty-six) inches in height from the finished floor. This

              barrier to access would make it difficult for Plaintiff to properly transact

              business at the Property as Plaintiff is in a wheelchair which makes his height

              much lower than a standing individual, so a surface with a maximum height of

              36 inches above the finished floor is necessary for Plaintiff to sign credit card

              receipts.

      xiv.    Inside La Michocana Meat Market, near the refrigerated area, the interior has

              walking surfaces lacking a 36 (thirty-six) inch clear width, due to a policy of

              maximizing the number of items of sale in the store by placing items in the

              accessible route, in violation of Section 403.5.1 of the 2010 ADAAG

              standards. Specifically, cases of bottled water for sale inhibit the clear 36 inch

              wide access route to below 32 inches. This barrier to access would make it

              difficult for Plaintiff to properly utilize public features at the Property because

              the width of Plaintiff’s wheelchair would prevent passage through areas with a

              width less than 36 inches.

       xv.    Defendant fails to adhere to a policy, practice and procedure to ensure that all

              facilities are readily accessible to and usable by disabled individuals.

RESTROOMS

      xvi.    The male restroom lacks signage in compliance with Sections 216.8 and 703

              of the 2010 ADAAG standards. This barrier to access would make it difficult



                                            12
     Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 13 of 17




                       for Plaintiff and/or any disabled individual to locate accessible restroom

                       facilities.

          xvii.        The door locking hardware of the male restroom is at a height that exceeds

                       48” from the finished floor, in violation of Section 404.2.7 of the 2010

                       ADAAG standards. This barrier to access would make it difficult for Plaintiff

                       and/or any disabled individual to utilize the restroom facilities.

         xviii.        The restrooms have grab bars adjacent to the commode which are not in

                       compliance with Section 604.5 of the 2010 ADAAG standards as the rear bar

                       is not present. This barrier to access would make it difficult for Plaintiff

                       and/or any disabled individual to safely transfer from the wheelchair to the

                       toilet and back to the wheelchair.

             xix.      Due to the placement of a toilet paper dispenser within 12” above

                       the side grab bar, there is inadequate space between the grab bar and objects

                       placed above the grab bar in violation of Section 609.3 of the 2010 ADAAG

                       Standards. This barrier to access would make it difficult for Plaintiff to safely

                       transfer from the wheelchair to the toilet and back.

             xx.       Due to the hand dryer being placed directly in front of the sink, the sink has

                       inadequate clear floor space in violation of Sections 606.2, 603.2 and 604.3 of

                       the 2010 ADAAG standards. This barrier to access would make it difficult for

                       Plaintiff and/or any disabled individual to safely utilize the restroom facilities.

       35.          The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Property.

       36.          Plaintiff requires an inspection of the Property in order to determine all of the



                                                     13
     Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 14 of 17




discriminatory conditions present at the Property in violation of the ADA.

       37.       The removal of the physical barriers, dangerous conditions and ADA violations

alleged herein is readily achievable and can be accomplished and carried out without significant

difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       38.       All of the violations alleged herein are readily achievable to modify to the

Property into compliance with the ADA.

       39.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because the nature and cost of

the modifications are relatively low.

       40.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily achievable because Defendant, LA

MICHOACANA, LTD., has the financial resources to make the necessary modifications.

According to the Property Appraiser, the Appraised value of the Property is $757,312.00.

       41.       Upon information and good faith belief, the removal of the physical barriers and

dangerous conditions present at the Property is readily.

       42.       The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant has available to it a $5,000.00 tax credit

and up to a $15,000.00 tax deduction from the IRS for spending money on accessibility

modifications.




                                                14
     Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 15 of 17




          43.   The removal of the physical barriers and dangerous conditions present at the

Property is also readily achievable because Defendant’s parent company or itself operates a

chain of La Michoacana Meat Market stores that operates 135 different stores around the United

States.

          44.   Upon information and good faith belief, the Property has been altered since 2010.

In fact, according to Google Maps, the non-compliant accessible ramp which on the north side of

the building was installed sometime after 2022.

          45.   In instances where the 2010 ADAAG standards do not apply, the 1991 ADAAG

standards apply, and all of the alleged violations set forth herein can be modified to comply with

the 1991 ADAAG standards.

          46.   Plaintiff is without adequate remedy at law, is suffering irreparable harm, and

reasonably anticipates that he will continue to suffer irreparable harm unless and until Defendant,

LA MICHOACANA, LTD., is required to remove the physical barriers, dangerous conditions

and ADA violations that exist at the Property, including those alleged herein.

          47.   Plaintiff’s requested relief serves the public interest.

          48.   The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant, LA MICHOACANA, LTD.

          49.   Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and costs of

litigation from Defendant, LA MICHOACANA, LTD., pursuant to 42 U.S.C. §§ 12188 and

12205.

          50.   Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant, LA

MICHOACANA, LTD., to modify the Property to the extent required by the ADA.



                                                  15
Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 16 of 17




 WHEREFORE, Plaintiff prays as follows:

 (a)   That the Court find Defendant, LA MICHOACANA, LTD., in violation of the

       ADA and ADAAG;

 (b)   That the Court issue a permanent injunction enjoining Defendant, LA

       MICHOACANA, LTD., from continuing their discriminatory practices;

 (c)   That the Court issue an Order requiring Defendant, LA MICHOACANA, LTD. to

       (i) remove the physical barriers to access and (ii) alter the Property to make it

       readily accessible to and useable by individuals with disabilities to the extent

       required by the ADA;

 (d)   That the Court award Plaintiff his reasonable attorneys' fees, litigation expenses

       and costs; and




                                       16
Case 4:24-cv-01503 Document 1 Filed on 04/24/24 in TXSD Page 17 of 17




 (e)   That the Court grant such further relief as deemed just and equitable in light of the

       circumstances.

                                     Dated: April 24, 2024

                                     Respectfully submitted,

                                     /s/ Douglas S. Schapiro
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                                        17
